Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 1 of 9 PageID #: 224




 Towaki Komatsu
802 Fairmount PI. Apt. 4B
 Bronx, NY 10460
 Tel; 718-450-6951
E-mail: Towaki Komatsu@vahoo.com


                                                                           p     EO E 1W[
 September 11, 2019
                                                                                                       D)
Hon. Margo Brodi                                                                    SEP 11 2019
United States District Judge
United States District Court
225 Cadman Plaza East                                                     PRO SE OFFICE
 Brooklyn, New York 11201

        Re:     Community Housing Improvement Program v. Citv of New York.
                No. 19-CV-4087(MKB)(RML)(E.D.N.Y.)


 Dear Judge Brodi,

 My name is Towaki Komatsu. I'm filing this letter pursuant to FRCP Rule 24 that concerns

 intervention both as of right and by permission in order to be granted the ability to intervene in

 this action as an interested party. Under Rule 24(a)(2), a district court must grant an applicant's

 motion to intervene if"(1)the motion is timely;(2)the applicant asserts an interest relating to

 the property or transaction that is the subject ofthe action;(3)the applicant is so situated that

 without intervention, disposition ofthe action may, as a practical matter, impair or impede the

 applicant's ability to protect its interest; and(4)the applicant's interest is not adequately

 represented by other parties." Rule 24(b)(1) addresses permissive intervention and states,"the

 court may permit anyone to intervene who:(A)is given a conditional right to intervene by a

 federal statute; or(B)has a claim or defense that shares with the main action a common question

 of law or fact." Fed. R. Civ. P. 24."When considering a request for permissive intervention, a

 district court must 'consider whether the intervention will unduly delay or prejudice the

 adjudication ofthe rights ofthe original parties."


                                              Page 1 of9
Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 2 of 9 PageID #: 225




The case in which I seek to intervene concerns the following property and transactions in which I

claim an interest:


 1. Real property to the extent that it concerns being deprived of property without due process of

    law.

2. Transactions that have established new rent laws in New York State that are being challenged

    in this action on constitutional grounds after the United States Supreme Court issued a

    landmark decision concerning due process in in Goldhers v. Kelly, 397 U.S. 254. 90 S. Ct.

    1011. 25 L. Ed. 2d 287(1970). The following are several pertinent excerpts from Goldberg

    that identify the legal standards it established for constitutional due process rights:

        a. "The fundamental requisite of due process oflaw is the opportunity to be heard."
           Grannis v. Ordean, 234 U. S. 385. 394(1914). The hearing must be "at a meaningful
           time and in a meaningful manner."

        b. "The opportunity to be heard must be tailored to the *269 capacities and
            circumstances ofthose who are to be heard."

 My interest in the transactions that are the subject of this action is due to the following facts:

 1. I have repeatedly been deprived of possession of apartments for which I signed fully-

    enforceable apartment lease agreements under the color oflaw without having been granted

    due process oflaw.

 2. The City of New York through its New York City Human Resources Administration

    ("HRA")unlawfully deprived me of possession of one ofthose apartments as a result of

    HRA having illegally changed material terms on or prior to 2/18/16 with neither my consent

     nor prior knowledge within a binding and fully-enforceable apartment lease agreement that I

    signed on 2/16/16. The information shown within the following screenshot that appears on

     page 40 within a report that is known as an "evidence packet" that I received on 2/8/17 from



                                              Page 2 of9
Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 3 of 9 PageID #: 226



   HRA in response to valid litigation that I commenced against it substantiates this assertion

   that corresponds to a patently illegal bait-and-switch fraud and forgery that HRA's personnel

   committed against me in regards to a binding and fully-enforceable apartment lease

   agreement that I signed on 2/16/16 in HRA's offices with its business partner Urban

   Pathways, Inc.("Urban");

                  Error             Benjamin-
     2/18/2016                                         Correction to Aprtment number
                  Correction        Soiis,K

3. The State of New York is proximately responsible pursuant to the legal doctrine of

   Respondeat Superior for having unlawfully deprived me of possession of one of my former

   apartments that was located in Queens as a consequence of its status as the employer of New

   York City Housing Court Judge Clifton Nembhard and the State of New York's grossly

   inadequate training and supervision of him to sufficiently prevent him from engaging in

   judicial misconduct. On 7/10/15, Judge Nembhard fraudulently conducted an inspection

   inside of an apartment that I was then renting in Queens. While doing so, he illegally

   condoned the fact that two court officers illegally coerced me to shut off an audio recording

    device that I was using in my own apartment instead of a courthouse to gather material

   evidence that would benefit me in the event that I sought to subsequently appeal any adverse

    decision that Judge Nembhard thereafter issued in a housing court case to which he was then

    assigned in which I was a party. I still have the audio recording of his visit to my apartment

    as well as a transcript that was created from it before I was illegally coerced to shut off that

    audio recording device. Whatfollows is a screenshot from page 16 in that transcript and

    reflects remarks that Judge Nembhard stated to me in that apartment as I lawfully expressed

    entirely valid objections to him and two court officers who accompanied him there about

    how they were fraudulently conducting an inspection in my apartment. His remarks in that

                                             Page 3 of9
Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 4 of 9 PageID #: 227



   screenshot clearly establish that he exhibited hostility and bias toward me while he was in

   that apartment. On 3/1/16, that transcript was among 5 or 6 that I handed to HRA

   Commissioner Steven Banks while meeting him for the first time at the Yale Club in

   Manhattan that is located near Grand Central Station. Back then, I handed him those

   transcripts while talking with him to try to get assistance from HRA with being provided pro

   bono legal representation to overcome the irreparable harm that Judge Nembhard caused me

   by judicial misconduct. I didn't know then that Mr. Banks' wife is the Supervising Judge

   Citywide for New York City's Housing Courts. However,I have since known that Jean

   Schneider was precisely that while I talked to Mr. Banks on 3/1/16. That fact confirms that

   Mr. Banks had a clear conflict of interest then due to his wife's inexcusable failure to

   adequately supervise Judge Nembhard.

                       THE COURT        :    Why am I here

    today?   I'm not here to hear you speak today,

    sir. (1:48:28) I'm sorry that if you're under the

    impression that I came here to listen to your

    arguments today, you're sorely, sadly mistaken.

    (1:48:29) I came here—

           MR. KOMATSU     :       I'm not saying that at

    all.

           THE COURT       :       (INAUDIBLE) Were you

    under the iir^jression that I came here to listen

    to oral arguments from you today?

           MR. KOMATSU     :       No (IllAUDIBLE)

           THE COURT       :       Then stop. Stop.

           MR. KOMATSU     :       All I'm saying—

    (INAUDIBLE) I was going to be bossed around in my

    own apartment.




                                            Page 4 of9
Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 5 of 9 PageID #: 228



   After Judge Nembhard left my apartment, he issued a decision on 8/14/15 in a housing court

   case in which I was a party. The following screenshot appears in the footnote section of page

   2 within that decision.


    ^The Court denied petitioner's attempt to introduce these recordings into evidence based on his
     acknowledgment that they were the same sounds heard by the Court during the inspection.

   The plain text shown in the screenshot above confirms that Judge Nembhard illegally

   prevented me from being able to present material and admissible evidence that consisted of

   audio and video electronic recordings that I legally recorded in my apartment while he was

   present in it on 7/10/15. He also fraudulently claimed in the remarks that appear in that

   screenshot that I acknowledged that sounds that would be heard in the recordings that I

   sought to present as evidence were the same sounds that he heard in my apartment on

   7/10/15. Contrary to Judge Nembhard's lies, that fact that recordings that I sought to present

   as material evidence in that case were recorded on different dates and times in my apartment

   he briefly visited on just one date is among other facts that confirm that the noises that I

   recorded in that apartment that corresponded to housing defects in need of repairs were

   materially different from sounds that he may have heard while he was inside of my apartment

   on 7/10/15.



    After Judge Nembhard issued an illegal decision in October of2015 in a housing court case

   in which I was a party that illegally caused me to be deprived of possession of my apartment

   in Queens shortly thereafter. Judge Nembhard was a member of a commission that was

   established by New York State Chief Judge Janet DiFiore that was assigned the

    responsibility to develop recommendations about how to reform New York City's housing

    courts. The name ofthat commission was "Special Commission on the Future of the New



                                            Page 5 of9
Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 6 of 9 PageID #: 229




    York City Housing Court. What follows is a link to a report that is available on the Internet

    that commission issued in January of2018 to Chief Judge DiFiore. Page 32 within that report

    confirms that Judge Nembhard was a member ofthat commission.

        Link to the report: http://www.nvcourts.gov/publications/housingreport2018.pdf


I am so situated that without intervention, disposition ofthis action may, as a practical matter,

impair or impede my ability to protect my interests. This is true partly for the following reasons:

 1. The new rent laws that New York State enacted and are the subject ofthis action will

    continue to be discriminatory with respect to tenants who have been contending with legal

    disputes against landlords that predate the effective date of the new New York State rent

    laws. In this respect, those new laws flagrantly violate the U.S. Constitution's Fourteenth

    Amendment equal protection provisions that pertain to similarly-circumstanced people. This

    fact confirms that those new rent laws violate fundamental constitutional due process rights.

2. It is entirely clear that the plaintiffs and defendants in this action as well as others who have

    submitted requests to intervene in it and the attorneys representing all ofthe groups to which

    I just referred do not represent my interests at all or sufficiently in this matter.

3. Although I have been entirely truthful while having repeatedly testified to and otherwise had

    communications with New York City Mayor Bill de Blasio ("the Mayor"), members ofthe

    New York City Council, HRA Commissioner Steven Banks, and whistleblower news censors

    in journalism that include Greg Smith (he used to work for the New York Daily News), Yoav

    Gonen(he used to work for the New York Post), J. David Goodman (he works for the New

    York Times)about housing matters and my need for legal assistance to address them,they

    have opted to wrongfully censor and shun me instead of assist me. One ofthe ways in which

    that has occurred has been the result of members ofthe Mayor's NYPD security detail and



                                              Page 6 of9
Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 7 of 9 PageID #: 230



    his staff having illegally prevented me from attending public forums comprised of public

    town hall meetings, public resource fair meetings, and public hearings that the Mayor

    conducted between April of2017 and March of 2019 in violation of my rights pursuant to the

    First Amendment,Fourteenth Amendment,and New York State's Open Meetings Law that

    was in retaliation for entirely valid active litigation against HRA that I commenced in

    January of 2017,is filed with the New York State Supreme Court in Manhattan, and is

    assigned the index number of 100054/2017. Due to the illegal acts that were committed

    against me at such public forums for the benefit ofthe Mayor,HRA's Commissioner, and

    members ofthe New York City Council, I also have an active federal lawsuit against the City

    of New York that corresponds to Komatsu v. City ofNew York, No. 18-cv-3698

   (LGSyGWGVS.D.N.Y.). My claims in that lawsuit are inextricably intertwined with my

    claims in my parallel lawsuit against HRA that is filed with the New York State Supreme

    Court in Manhattan. For that reason and in the interests ofjudicial economy,I have been

    attempting to consolidate those lawsuits pursuant to FRCP Rule 42 and 28 U.S.C. §1367 in a

    manner that will have my federal lawsuit incorporate the entirety of my claims between those

    two lawsuits. On 8/22/19, United States District Judge Loma Schofield issued an order in my

    federal lawsuit that finally authorized me to file a further amended complaint in it that will

    enable me to vastly expand its scope in terms of both the claims that it will encompass and

    the defendants who will be in it.

 4. On or about 5/11/16, HRA Commissioner Steven Banks told me that he didn't know if

    anything could be done about what he described as "past cases". When he made a remark to

    that effect to me back then, he was referring to housing court cases in which tenants had been

    a party in New York City prior to New York City's government having implemented reforms



                                            Page 7 of9
Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 8 of 9 PageID #: 231




   to provide many more tenants pro bono or low-cost legal representation or legal assistance

   for housing court cases. That conversation between us occurred during a meeting that was

   held at New York University.

5. On 8/11/17,1 attended a meeting that the Mayor, Mr. Banks, New York City Councilman

   Mark Levine, New York City Councilwoman Vanessa Gibson, and New York State Attorney

   General Letitia James conducted with other government officials in the Bronx. That meeting

   was also about reforms that New York City's government was implementing to benefit

   tenants who could possibly face litigation in New York City's housing courts thereafter or

   were currently contending with such litigation. At the end ofthat meeting, I briefly talked

   with both Mr. Levine and Ms. Gibson about needs that I continued to have for pro bono legal

   representation to contend with housing matters for what Mr. Banks previously characterized

   as "past cases". When I talked then with Mr. Levine about that matter and asked him why he

   hadn't considered including provisions that would be retroactive and retrospective in nature

   within legislation that he worked on that pertained to strengthening protections for tenants, he

   told me that he hadn't thought about that while he worked on that legislation. When I talked

   then with Ms. Gibson about why New York City's government was using HRA to provide

   funding to legal organizations that include the Legal Aid Society to provide legal

   representation and/or legal assistance to tenants for housing court matters while Mr. Banks

   had a clear conflict of interest due to his wife's status as the Supervising Judge Citywide for

   New York City's Housing Courts, she told me that it was due to how the contracts were

    established for having that funding made available to those legal organizations.




                                           Page 8 of9
Case 1:19-cv-04087-EK-RLM Document 30 Filed 09/11/19 Page 9 of 9 PageID #: 232




In the event that this Court needs clarification about anything that I have discussed in this letter, I

respectfully request a conference with this Court for that purpose.



Thank you for your time and consideration.




Towaki Komatsu




                                             Page 9 of9
